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                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 IN RE: NATIONAL PRESCRIPTION MDL 2804
 OPIATE LITIGATION
                                                Case No. 17-md-2804
 This document relates to:
                                                Hon. Dan Aaron Polster
 Erie County Medical Center Corporation, et
 al. v. Teva Pharmaceuticals USA, Inc., et al.,
 Case No. 1:21-op-45116


             MEMORANDUM IN SUPPORT OF MOTION OF PLAINTIFF
           ERIE COUNTY MEDICAL CORP. FOR RECONSIDERATION OF,
                     AND TO VACATE, THREE ORDERS

        Plaintiff Erie County Medical Center Corporation (“ECMC”), one of several named

plaintiffs in the above-captioned constituent case, respectfully submits this memorandum of law

in support of its motion, pursuant to Fed. R. Civ. P. 59(a), and the common law, for reconsideration

of three unnumbered orders (docket entries without written orders) dismissing certain claims

brought by ECMC – two orders entered on August 9, 2022, and a third order entered on August 8,

2024. For the reasons stated below, all three orders are plainly erroneous and must be vacated.

I.      Pertinent Procedural History

        A. The Settlement Agreements Entered into by the New York Attorney General

        The Attorney General of the state of New York has entered into settlement agreements and

releases (the “Releases”) with various categories of defendants in constituent actions, purporting

to release, inter alia, claims belonging to various subdivisions and special districts within New

York.

        The Releases purport to release claims belonging to the following categories of persons:

        “(a) departments, agencies, divisions, boards, commissions, Subdivisions, districts,
        instrumentalities of any kind and attorneys, including its Attorney General, and any
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       person in their official capacity whether elected or appointed to serve any of the
       foregoing and any agency, person, or other entity claiming by or through any of the
       foregoing, (b) any public entities, public instrumentalities, public educational
       institutions, unincorporated districts, fire districts, irrigation districts, water
       districts, law enforcement districts, emergency services districts, school districts,
       hospital districts and other Special Districts in” New York State, and “(c) any
       person or entity acting in a parens patriae, sovereign, quasi-sovereign, private
       attorney general, qui tam, taxpayer, or other capacity seeking relief on behalf of or
       generally applicable to the general public with respect to” New York or a New York
       subdivision, “whether or not any of them participate in this” Settlement

Releases entered into between the Attorney General and Walgreens, CVS and Wal-Mart, included

in Exhibit A to the Pharmacies’ Motion [Doc. No. 5530-1].1

       The Releases also purport to release the claims of certain specifically enumerated entities

listed in the document attached as “Appendix A” to each of the Releases.2 Among those entities

listed on each “Appendix A” is ECMC. But ECMC (and a few other entities) is listed with an

asterix relating to an explanatory note. The note indicates that:

       *New York State is releasing these entities out of an abundance of caution, but by
       doing so the State is not intending to concede, and should not be construed as
       conceding, that these entities are “Special Districts” or otherwise fall within the
       meaning of “Subdivision” as defined under the Agreement.

       B. The Operative Motions to Dismiss

       On July 20, 2022, certain distributor defendants (the “Settling Distributors”) filed a motion

[Doc. No. 4588] seeking dismissal of claims brought by various plaintiffs in various separate

constituent actions, including ECMC, who were represented by the moving parties to be

government entities. The movants argued that the claims were barred by (1) releases entered by




1
  The relevant language in the operative releases entered into between the Attorney General and
(1) the Settling Distributors, defined below [Doc. No. 4396-2], and (2) Janssen et al. (included in
[Doc. No. 4591-1]), is substantially identical.
2
  See, e.g., Appendix A to each of the three releases entered into between the Attorney General
and Walgreens, CVS and Wal-Mart, included in Exhibit A to the Pharmacies’ Motion [Doc. No.
5530-1].
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the Attorney General, and (2) by a New York statute, N.Y. Mental Hygiene Law § 25.18(d). On

August 9, 2022, the Court granted the motion, entering the following unnumbered docket entry:

       Order [non-document] regarding Settling Distributor Defendants’ Motion to
       Dismiss (Related Doc# 4588). The Motion to Dismiss is granted as to 22-op-45024,
       21-op-45116, and 19-op-46078 because the claims in these cases are barred by
       statute. See Courts Order in Doc.# 4547. Judge Dan Aaron Polster on 8/9/22. (P,R)
       (Entered: 08/09/2022)

       On July 21, 2022, Defendant Janssen Pharmaceuticals, Inc. (and certain affiliated entities)

filed a motion [Doc. No. 4591] seeking dismissal of claims brought by various plaintiffs in various

separate constituent actions, including ECMC, who were represented by the moving parties to be

government entities. The movants argued that the claims were barred by the Releases and §

25.18(d), which effected the release of certain opioid-related claims brought by government

entities that were resolved by one or more settlements entered on behalf of government entities.

On August 9, 2022, before the time to file opposition papers had expired, the Court granted the

motion, entering the following docket entry without order:

       Order [non-document] regarding Janssen Defendants’ Amended Motion to Dismiss
       (Related Doc# 4591). The Motion to Dismiss is granted with respect to the cases
       listed in Exhibit B of the motion because the claims in these cases are barred by
       statute. See Courts Order in Doc.# 4547. Judge Dan Aaron Polster on 8/9/22. (P,R)
       (Entered: 08/09/2022)

       More recently, on July 30, 2024, certain retail pharmacy defendants filed a motion [Doc.

No. 5562] (the “Pharmacies’ Motion”) seeking dismissal of claims brought by various plaintiffs

in various separate constituent actions, including ECMC, who were represented by the moving

parties to be government entities. The movants argued that the claims were barred by the Releases

and § 25.18(d). On August 8, 2022, well before the time to file papers in response to the

Pharmacies’ Motion were due, the Court granted the motion, entering the following unnumbered

docket entry:



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       Order [non-document]: For the reasons stated in this Court’s Order at docket no.
       [4547], and also the reasons stated in Town of Babylon v. James, 2023 WL 8734201
       (Sept. 19, 2023), the Motion to Dismiss Claims Filed By Non-Participating New
       York Subdivisions (docket no. [5562]) is GRANTED. Entered on behalf of Judge
       Dan Aaron Polster on 8/8/2024. (M,CE)

       We refer to the three foregoing motions collectively as “the Motions,” and the three

foregoing orders collectively as “the Orders.”

II.    Argument

       A. The Court Has the Authority to Reconsider Any Order Prior to the Entry of
          Final Judgment, Which Has Not Occurred in No. 1:21-op-45116

       It is well settled that “[d]istrict courts have inherent power to reconsider interlocutory

orders and reopen any part of a case before entry of a final judgment. A district court may modify,

or even rescind, such interlocutory orders.” Leelanau Wine Cellars Ltd. v. Black & Red, Inc., 118

F. App’x 942, 945 (6th Cir. 2004).

       No “final judgment” has been entered in No. 21-op-45116. The action remains pending as

to many parties and claims. The Orders are all interlocutory as to ECMC (this may or may not be

true as to alleged government entity plaintiffs in other affected constituent actions), and the Court

may vacate those Orders as to ECMC regardless of whether any express remedy (such as those

provided by Fed. R. Civ. P. 59 or 60) is available to ECMC. ECMC moves to vacate all three

orders under the Court’s common law authority to reconsider any interlocutory order prior to final

judgment.

       Additionally, with respect to the most recent of the three Orders, entered on

August 8, 2024, ECMC also moves under Fed. R. Civ. P. 59(a) for a new trial as to the dismissal

of its claims against the retail pharmacies who filed the subject motion.




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       B. The Orders Were Plainly Erroneous, at Least as to ECMC, and Must Be Vacated

       The three motions were all premised on (1) releases entered by the Attorney General that

were purported to encompass claims belonging to ECMC, and (2) the effect of the above-

referenced New York statute which effects dismissal of claims brought by “government entit[ies]”

that were released in certain settlements designed to benefit government litigants. N.Y. Mental

Hygiene Law § 25.18(d).

       But the Attorney General had no authority to release the claims belonging to ECMC, and

ECMC is plainly outside the scope of N.Y. Mental Hygiene Law § 25.18(d). And the reasons are

substantially the same – because ECMC is not a state agency or a subdivision of the state.

       We start with a discussion of what ECMC actually is before we address what it is not.

       ECMC is a “public benefit corporation” (a “PBC”). So much is stated and conceded in the

moving defendants’ motion papers. More importantly, it is pleaded, and the Court must accept that

allegation as true for present purposes.

       A PBC is “a corporation organized to construct or operate a public improvement wholly or

partly within the state, the profits from which inure to the benefit of this or other states, or to the

people thereof.” N.Y. Gen. Construction Law § 66[4]. PBCs were designed as “a new vehicle for

funding public works projects” that “insulate[d] the State from the burden of long-term debt.”

Schulz v. State of New York, 84 N.Y.2d 231, 244 (1994). See also Matter of Plumbing, Heating,

Piping & A.C. Contrs. Ass’n. v. New York State Thruway Auth., 5 N.Y.2d 420, 423 (1959) (two

purposes of PBCs are to “protect the State from liability” and to “enable public projects to be

carried on free from restrictions otherwise applicable”); N.Y. Public Authorities Law § 3638 (“The

state does hereby pledge . . . that the state will not alter, limit, or impair the rights vested in the

corporation to purchase, construct, own and operate … any part or parts thereof, for which bonds

of the corporation shall have been issued . . . [.]”). Public benefit corporations are able to issue
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debt for which the State itself is not liable See N.Y. Const. Art. X, § 5; N.Y. Public Authorities

Law § 3635 (“the state [and] …count[ies] shall not be liable on the bonds or notes of the

corporation”).

       PBCs are created by the government and are created to carry out purposes in the public

interest. But they are not government entities or part of the government. As explained by New

York’s Court of Appeals, “[a]lthough created by the State and subject to dissolution by the State,

these public corporations are independent and autonomous, deliberately designed to be able to

function with a freedom and flexibility not permitted to an ordinary State board, department or

commission” Matter of Plumbing, Heating, Piping & A.C. Contrs. Ass’n., 5 N.Y.2d at 423

(emphasis added). Accordingly, the Court of Appeals has repeatedly made it quite clear that PBCs

are not state or local government agencies:

       We have consistently recognized public authorities as legal entities separate from
       the State, enjoying an existence separate and apart from the State, its agencies and
       political subdivisions. (see, e.g., Matter of New York Pub. Interest Research Group
       v. New York State Thruway Auth., 77 N.Y.2d 86, 92-93 [(1990)]; Methodist Hosp.
       v. State Ins. Fund, 64 NY2d 365 [(1985)]; Collins [v. Manhattan & Bronx Surface
       Tr. Operating Auth.], 62 N.Y.2d 361, 367 [(1984)]; Grace & Co. v. State Univ.
       Constr. Fund, 44 N.Y.2d 84, 88 [(1978)]; Patterson v. Carey, 41 N.Y.2d 714
       [(1977)]; Matter of Dormitory Auth. [Span Elec. Corp.], 18 N.Y.2d 114
       ([1966]); Matter of Plumbing, Heating, Piping & Air Conditioning Contrs. Ass’n.
       [], 5 N.Y.2d [at] 423-424[].

See also Roberts v. Paterson, 19 N.Y.3d 524, 531 (2012) (“As a public benefit corporation created

by the State, … NYC OTB was never a ‘department or agency’ of the City”); Bordeleau v. State,

18 N.Y.3d 305, 317 (2011) (“Thus, plaintiffs cannot challenge the grants at issue by a public

benefit corporation, like the UDC, under article VII, § 8(1) of the State Constitution”).

       Guided by the foregoing inescapable mountain of controlling authority from the Court of

Appeals, federal courts have concurred. Mancuso v. New York State Thruway Authority, 86 F.3d

289, 297 (2d Cir.1996) (the New York State Thruway Authority was not an “arm of the state”);


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Blumberg v. Nassau Health Care Corp., 378 F. Supp. 2d 122 (E.D.N.Y. 2005) (Nassau University

Medical Center was not an arm of the state, and, thus, was not entitled to Eleventh Amendment

immunity).

                1. The Releases are Ambiguous as to Whether the Attorney General Actually
                   Released Claims Belonging to ECMC, Something She Had No Authority
                   to Do

        The Releases are fraught with ambiguities and uncertainties as to ECMC. ECMC is plainly

not among those enumerated categories of entities the Releases are designed to encompass. ECMC

is not the state itself, an executive department, state agency, division, board, or commissions.

ECMC is not a subdivision of the state, and no one is contending it is. It is also not a “special

district” as that term is defined in the Releases.3 And no person is suggesting that ECMC acts as a

sovereign in any respect.

        The Releases could have been drafted to at least attempt to include PBCs among those

categories of persons whose claims were to be released. The omission is particularly conspicuous

since Appendix A lists at least two PBCs – ECMC and Nassau University Medical Center. PBCs

were not included in the laundry list of releasing categories of releasing entities because the

Attorney General did not have authority to include them, and plainly knew that.

        Appendix A itself is ambiguous. The explanatory note rather curiously expresses serious

doubt as to whether ECMC (and a handful of other entities) fits within any of the included

categories of releasing persons. The version of the explanatory in the recent pharmacy agreements

states that the Attorney General does “is not intending to concede, and should not be construed as


3
  The Releases provide that “’Special District’ means a formal and legally recognized sub-entity
of the State that is authorized by State law to provide one or a limited number of designated
functions, including but not limited to school districts, fire districts, healthcare & hospital districts,
and emergency services districts. Special Districts do not include sub-entities of the State that
provide general governance for a defined area that would qualify as a Subdivision.” ECMC is not
a “sub-entity” of the State.
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conceding” that ECMC is a “special district” or “subdivision,”4 but was releasing their claims

anyway “out of an abundance of caution.” But nowhere in the explanatory note, or anywhere else

in the Releases, does the Attorney General make any attempt to take a position as to what ECMC

actually is or why the Attorney General can release its claims. Similarly, none of the moving

defendants makes any attempt to expressly argue that ECMC actually fits into any of the categories

of releasing persons.

       While the Court can, no doubt, take judicial notice of the contents of the Releases for

purposes of a motion to dismiss, the interpretation of an ambiguous contract is plainly out of

bounds. The Court should defer construing these ambiguous contracts until after some discovery,

including at least one deposition of the Attorney General to explain the parties’ intentions as to

ECMC and other PBCs, and need not reach the question of whether the Releases do encompass

ECMC.

       If the Court endeavors to construe this ambiguous contract on a motion to dismiss, and

construes the Releases as including ECMC, it must find that the releases are plainly illegal to the

extent they include ECMC, regardless of whether such inclusion was intended.

       As noted above, ECMC is not an arm of the state. Controlling authority holds that PBCs

like ECMC are “legal entities separate from the State, enjoying an existence separate and apart

from the State, its agencies and political subdivisions.” Schulz, 84 N.Y.2d at 246 n. 4. They “are

independent and autonomous, deliberately designed to be able to function with a freedom and




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  The explanatory notes in the earlier Distributors and Janssen agreements only state that the
Attorney General “is not intending to concede, and should not be construed as conceding” that
ECMC is a “special district.” It similarly provides that its claims are being released “out of an
abundance of caution.”
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flexibility not permitted to an ordinary State board, department or commission” Matter of

Plumbing, Heating, Piping & A.C. Contrs. Ass’n., 5 N.Y.2d at 423.

        Notably, the Attorney General can (and, in fact, must) represent a public authority, but only

“[a]t the request of the authority…” N.Y. Public Authorities Law § 362. If such assistance is not

requested, the Attorney General cannot do anything on behalf of a public authority, even as much

as accepting service of process. Bonaventure v. New York State Thruway Authority, 108 A.D.2d

1002, 1003 (3rd Dept. 1985); Cantor v. State, 43 A.D.2d 872, 872 (3rd Dept. 1974).

        There is nothing in the four corners of the Complaint to suggest that ECMC requested that

the Attorney General represent it, nor has any of the movants proffered a document of which the

Court might take judicial notice that reflects such a request. There is none.

                2. ECMC is Outside the Scope of Section 25.18(d)

        The statute defines a “government entity” to include “departments, agencies, divisions,

boards, commissions and/or instrumentalities of the state of New York” and “any government

subdivision within the boundaries of the state of New York, including, but not limited to, counties,

municipalities, districts, towns and/or villages, and any of their subdivisions, special districts, and

school districts, and any department, agency, division, board, commission, and/or instrumentality

thereof.” Id.

        Much like the Releases, the statute does not expressly include “public benefit corporations”

or “public authorities.” These are notable omissions. Public benefit corporations are hardly obscure

in New York – this category of entities includes many prominent institutions, which is reflected in

how many times their status has been at issue before the Court of Appeals. If the legislature

intended to include them in its definition of “government entities,” it would have done so. It did

not, notwithstanding the rather prodigious length of the laundry list of categories of entities that

are expressly included (“departments, agencies, divisions, boards, commissions and/or
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instrumentalities of the state of New York” and “any government subdivision within the

boundaries of the state of New York, including, but not limited to, counties, municipalities,

districts, towns and/or villages, and any of their subdivisions, special districts, and school districts,

and any department, agency, division, board, commission, and/or instrumentality thereof”).

        Defendants do not mention, much less distinguish, the considerable body of controlling

authority from New York’s Court of Appeals holding that PBCs are not part of the state or any

municipality. Instead, they rely heavily on a case construing county civil service rules decided by

an intermediate appellate court, Matter of Civ. Serv. Empls. Ass’n., Inc. v. County of Erie, 63

A.D.3d 1536 (4th Dept. 2009). But that case never reaches the question of whether ECMC (or any

other PBC) is a government entity. The court held only that ECMC was a “local” and “state”

“authority” as those terms are defined in the Erie County civil service rules that expressly

encompassed “authorities.” ECMC probably is a “public authority.” But that is irrelevant, since

“authorities” are not included in N.Y. Mental Hygiene Law § 25.18(d). The fact that they are

included in Erie County’s civil service rules is irrelevant.

III.    Conclusion

        For the reasons stated above, Plaintiff Erie County Medical Center Corporation

respectfully prays that the Court vacate the specified unnumbered orders (two entered

August 9, 2022 and one entered August 8, 2024) dismissing certain of its claims.

Dated: September 6, 2024                                Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 6, 2024, I electronically filed the foregoing document

with the Clerk of Court using the CM/ECF system which will send notification of such filing to

all counsel of record.

                                                   /s/ Don Barrett
                                                   John W. (“Don”) Barrett




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